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                                    CLERK'S COURTROOM MINUTE SHEET - CRIMINAL - MAGISTRATE JUDGE

UNITED STATES OF AMERICA

v.                                                                                    Case No:      02-40015-01-JAR
DONNELL F. TIMLEY                                                                     Age:          31
                                                                                      AUSA:         James Brown
                                                                                      Deft. Atty.:  Ron Wurtz, AFPD
                                                                                        x Appointed        Retained

 JUDGE :                                Sebelius                          DATE :                             October 6, 2005

 DEPUTY CLERK:                          Collins                           CD:                                KGS05-18

 Location:                              Topeka, Kansas                    PRETRIAL/PROBATION:                Phillips
Length of Hearing:        Initial Revocation Hearing:10 min.    Detention Hearing: 5 min.
                                                                 PROCEEDINGS

( )        Initial Rule 5 Hearing                  (x)   Initial Revocation Hearing          ( )     Bond Hearing
( )        ID/Removal Hearing                      ( )   Held      ( )      Waived           ( )     Bond Revocation Hearing
(x)        Preliminary Hearing                     ( )   Held      (x)      Waived           ( )     Upon Petition for Offender
(x)        Detention Hearing                       (x)   Held      ( )      Waived                   Under Supervision
( )        Arraignment                             ( )   Held      ( )      Waived

( )        Interpreter:                                          ( )      Appointed                 ( )     Sworn
(x)        Charges and penalties explained to defendant
(x)        Defendant sworn and examined re: financial ability to retain counsel
(x)        Counsel appointed                                     ( )      At defendant's expense
(x)        Constitutional rights explained                       (x)      Felony                    ( ) Misdemeanor0
( )        Defendant declined to waive indictment     ( )        Will be presented by next Grand Jury
( )        Signed Waiver of Indictment
( )        Advised of rights under                               ( )      Rule 20          ( )      Rule 40
( )        Signed Consent to Transfer (Rule 20)
( )        Petition to Enter Plea Filed                          ( )      Plea Agreement Attached
( )        Transfer under Rule 40 to:
(x)        Defendant acknowledged receipt of petition for offender under supervision



( )        Bail Denied                             ( )   Bail fixed at                               ( )      Bail remain at
( )        $                                       ( )   Unsecured                                   ( )      Secured
(x)        Release Order                           ( )   Executed                                    (x)      Continued in effect
( )        Deft. remanded to custody               ( )   Pending compliance with conditions of release
( )        Detention Ordered

Deft's next appearance: Final revocation hearing 10/17/05 @ 9 a.m. before Judge Robinson
Miscellaneous: The court appoints the Federal Public Defender to represent the defendant. Defendant signs a formal waiver of
his right to a preliminary hearing and the court finds that the waiver is freely, voluntarily and knowingly given. The court also
finds that probable cause exists that a condition of his supervised released had been violated. Government does not request
detention prior to the final revocation hearing. The court adds the additional conditions of electronic monitoring and a curfew
status only permitted to leave for court and emergencies as approved by the U.S. Probation Officer. All of the original
conditions of supervised release shall remain as originally ordered. The U.S. Probation Office will cover costs of the electronic
monitoring.
